Case 2:25-cv-01963-MEF-MAH   Document 347-1   Filed 07/11/25   Page 1 of 6 PageID:
                                   4031




                        EXHIBIT A
Case 2:25-cv-01963-MEF-MAH   Document 347-1   Filed 07/11/25   Page 2 of 6 PageID:
                                   4032
Case 2:25-cv-01963-MEF-MAH   Document 347-1   Filed 07/11/25   Page 3 of 6 PageID:
                                   4033
Case 2:25-cv-01963-MEF-MAH   Document 347-1   Filed 07/11/25   Page 4 of 6 PageID:
                                   4034
Case 2:25-cv-01963-MEF-MAH   Document 347-1   Filed 07/11/25   Page 5 of 6 PageID:
                                   4035
Case 2:25-cv-01963-MEF-MAH   Document 347-1   Filed 07/11/25   Page 6 of 6 PageID:
                                   4036
